         Case 5:10-cv-02593-TMP Document 154 Filed 03/07/16 Page 1 of 1                                 FILED
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                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA




                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                NORTHEASTERN DIVISION

JANE DOE,                                      )
                                               )
               Plaintiff,                      )
                                               )
v.                                             )             Case No. 5:10-cv-02593-TMP
                                               )
MADISON COUNTY                                 )
SCHOOL BOARD, et al.,                          )
                                               )
               Defendants.                     )

                                              ORDER

       The parties in the above-styled action have advised the court that all remaining issues in

the case have been resolved and the case has been settled, although a joint stipulation of

dismissal has not yet been filed. The parties have consented to the undersigned magistrate

judge’s jurisdiction under 28 U.S.C. § 636(c). (Doc. 37). Because the case has been settled and

there no longer exists a live case or controversy, it is ORDERED and ADJUDGED that the case

be and hereby is DISMISSED WITHOUT PREJUDICE pursuant to the right of either party to

file a motion to vacate this Order and reinstate the action within sixty (60) days after this Order.

In the event neither party files such a motion, the dismissal of this action shall become WITH

PREJUDICE upon the expiration of sixty (60) days. The court retains jurisdiction in the above-

styled case until the expiration of sixty (60) days.

       DONE and ORDERED on March 7, 2016.




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                                               T. MICHAEL PUTNAM
                                               UNITED STATES MAGISTRATE JUDGE
